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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 UNITED STATES OF AMERICA,                             CR 17–12–M–DLC–2

                      Plaintiff,
                                                              ORDER
        vs.

 NATHAN ALAN SWENSON,

                      Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on April 20, 2017. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Nathan Alan Swenson’s guilty

plea after Swenson appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to commit

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wire fraud, in violation of 18 U.S.C. § 1349 (Count 1) and one count of aggravated

identity theft in violation of 18 U.S.C. § 1028A(a)(1) (Count 12), as set forth in

the Indictment. In exchange for Defendant’s plea, the United States has agreed to

dismiss Counts 2, 3, 4, 5, 6, 7, 11, 13, 15, 16, 17, and 21 of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

40), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Nathan Alan Swenson’s motion to

change plea (Doc. 37) is GRANTED and Nathan Alan Swenson is adjudged guilty

as charged in Counts 1 and 12 of the Indictment.

      DATED this 9th day of May, 2017.




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